  Case 17-06404          Doc 43       Filed 02/25/20 Entered 02/25/20 17:02:52      Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In Re:

                                                       Case No. 1:17-bk-06404


THOMAS W. TURK                                         Chapter 13


                                                       Honorable Timothy A. Barnes

                                      Debtor(s)

                                        NOTICE OF MOTION

To:       See attached service list

PLEASE TAKE NOTICE that on March 26, 2020 at 9:00 a.m., the undersigned will appear
before the Honorable Timothy A. Barnes at the Everett McKinley Dirksen United States
Courthouse, 219 South Dearborn Street, Courtroom 744, Chicago, Illinois and will then and there
present MOTION TO MODIFY PLAN, a copy of which is hereby served upon you.

                                      CERTIFICATE OF SERVICE

I hereby certify that I caused a copy of this notice and motion to be served, via electronic case
filing to Marilyn O. Marshall, Chapter 13 Trustee and via United States First Class Mail to all
parties listed on the attached service list, on February 25, 2020 before the hour of 5:00 p.m. from
the office located at 2500 South Highland Avenue, Suite 200, Lombard, Illinois 60148.

                                                      /s/ Joseph S. Davidson

                                                      Joseph S. Davidson
                                                      SULAIMAN LAW GROUP, LTD.
                                                      2500 South Highland Avenue
                                                      Suite 200
                                                      Lombard, Illinois 60148
                                                      +1 630-575-8181
                                                      jdavidson@sulaimanlaw.com
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Label Matrix for local noticing               JPMorgan Chase Bank, National
                                                   Document           PageAssociation
                                                                              2 of 6         MTGLQ Investors, L.P.
0752-1                                        c/o Heavner, Beyers & Mihlar, LLC              P.O. Box 10826
Case 17-06404                                 Post Office Box 740                            Greenville, SC 29603-0826
Northern District of Illinois                 Decatur, IL 62525-0740
Eastern Division
Tue Feb 25 14:25:12 CST 2020
MTGLQ Investors, L.P.                         PRA Receivables Management, LLC                Shellpoint Mortgage Servicing
c/o Shellpoint Mortgage Servicing             PO Box 41021                                   PO Box 10826
PO BOX 10826                                  Norfolk, VA 23541-1021                         Greenville, SC 29603-0826
GREENVILLE, SC 29603-0826


U.S. Bankruptcy Court                         Afni                                           Afni
Eastern Division                              Attention: Bankruptcy                          P.O. Box 3517
219 S Dearborn                                1310 Martin Luther King Drive                  Bloomington, IL 61702-3517
7th Floor                                     Bloomington, IL 61701-1465
Chicago, IL 60604-1702

Afni, INC                                     Afni, INC                                      Afni, Inc.
PO Box 3097                                   PO Box 3667                                    1310 MLK Drive
Bloomington, IL 61702-3097                    Bloomington, IL 61702-3667                     P.O. Box 3517
                                                                                             Bloomington, IL 61702-3517


Afni, Inc.                                    Bank Of America, N.A. *                        (p)BANK OF AMERICA
404 Brock Drive                               401 N. Tryon Street                            PO BOX 982238
Bloomington, IL 61701-3963                    NC1-021-02-20                                  EL PASO TX 79998-2238
                                              Charlotte, NC 28255-0001


Blue Cross Blue Shield                        Blue Cross Blue Shield                         Blue Cross Blue Shield
225 North Michigan Avenue                     300 East Randolph Street                       PO Box 94455
Chicago, IL 60601-6026                        Chicago, IL 60601-5099                         Palatine, IL 60094-4455



Blue Cross Blue Shield of Illinois            Chase                                          Chase *
25553 Network Place                           P.o. Box 15298                                 3415 Vision Drive
Chicago, IL 60673-1255                        Wilmington, DE 19850-5298                      Mail Code OH4-7142
                                                                                             Columbus, OH 43219-6009


Chase *                                       Dr. Michael Biasiello DDS                      Freedman Anselmo Lindberg, LLC
ATTN: Bankruptcy Department                   503 Talcott Road                               1771 W. Diehl, Suite 150
P.O. Box 15298                                Park Ridge, IL 60068-5338                      PO Box 3228
Wilmington, DE 19850-5298                                                                    Naperville, IL 60566-3228


(p)ILLINOIS DEPARTMENT OF REVENUE             (p)INTERNAL REVENUE SERVICE                    Internal Revenue Service
BANKRUPTCY UNIT                               CENTRALIZED INSOLVENCY OPERATIONS              PO Box 7346
PO BOX 19035                                  PO BOX 7346                                    Philadelphia, PA 19101-7346
SPRINGFIELD IL 62794-9035                     PHILADELPHIA PA 19101-7346


JPMorgan Chase                                JPMorgan Chase Bank, N.A.                      JPMorgan Chase*
Po Box 24696                                  Chase Records Center                           270 Park Avenue
Columbus, OH 43224-0696                       Attn: Correspondence Mail                      New York, NY 10017-2014
                                              Mail Code LA4-5555
                                              700 Kansas Lane
                                              Monroe, LA 71203-4774
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Jaguar Credit                                         JaguarDocument
                                                             Credit           Page 3 of 6                  Jaguar Credit
1559 W. Ogden Avenue                                  PO Box 111897                                        Po Box 680020
Naperville, IL 60540-3906                             Nashville, TN 37222-1897                             Attn: Bankruptcy
                                                                                                           Franklin, TN 37068-0020


(p)FORD MOTOR CREDIT COMPANY                          O’Halloran Kosoff Geitner & Cook, LLC                Peter Gromadzinski
P O BOX 62180                                         650 Dundee Road, #475                                1713 Spaulding Road
COLORADO SPRINGS CO 80962-2180                        Northbrook, IL 60062-2799                            Bartlett, IL 60103-1223



Pierce & Associates                                   Shellpoint Mortgage Servicing                        (p)SPRINGLEAF FINANCIAL SERVICES
1 North Dearborn                                      PO Box 19006                                         P O BOX 3251
Ste 1300                                              Troy, MI 48099                                       EVANSVILLE IN 47731-3251
Chicago, IL 60602-4373


(p)SPRINT NEXTEL CORRESPONDENCE                       Sunrise Chevrolet                                    Synchrony Bank
ATTN BANKRUPTCY DEPT                                  414 East North Avenue                                c/o PRA Receivables Management, LLC
PO BOX 7949                                           Glendale Heights, IL 60139-3499                      PO Box 41021
OVERLAND PARK KS 66207-0949                                                                                Norfolk, VA 23541-1021


Joseph S Davidson                                     Marilyn O Marshall                                   Patrick S Layng
Sulaiman Law Group, Ltd.                              224 South Michigan Ste 800                           Office of the U.S. Trustee, Region 11
2500 S. Highland Ave                                  Chicago, IL 60604-2503                               219 S Dearborn St
Suite 200                                                                                                  Room 873
Lombard, IL 60148-7103                                                                                     Chicago, IL 60604-2027

Thomas W. Turk
3909 Whispering Trails Dr.
Hoffman Estates, IL 60192-1552




                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank of America                                       Illinois Department of Revenue                       (d)Illinois Department of Revenue
Po Box 982235                                         Bankruptcy Section                                   Bankruptcy Unit
El Paso, TX 79998                                     PO Box 64338                                         PO Box 19035
                                                      Chicago, IL 60664-0338                               Springfield, IL 62794-9035


Internal Revenue Service                              Jaguar Credit Corporation                            Springleaf Financial
PO Box 21126                                          PO Box 62180                                         601 Nw 2nd St 4
Philadelphia, PA 19114                                Colorado Springs, CO 80962                           Evansville, IN 47701



(d)Springleaf Financial Services                      (d)Springleaf Financial Services                     (d)Springleaf Financial Services
3615 W 95th Street                                    600 N Royal Avenue                                   Attention: Bankruptcy Department
Evergreen Park, IL 60805                              Evansville, IN 47715                                 Po Box 3251
                                                                                                           Evansville, IN 47731
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(d)Springleaf Financial Services                     SprintDocument          Page 4 of 6                  (d)State of Illinois: Department of Revenue
Crestwood Center                                     Attn: Bankruptcy Department                          PO Box 19006
13608 Cicero Avenue, Suite C                         PO Box 7949                                          Springfield, IL 62794
Midlothian, IL 60445                                 Overland Park, KS 66207-0949




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Jaguar Credit Corporation                         (u)NewRez LLC d/b/a Shellpoint Mortgage Servi        (d)MTGLQ INVESTORS, L.P.
                                                                                                          c/o Shellpoint Mortgage Servicing
                                                                                                          P.O. Box 10826
                                                                                                          Greenville, SC 29603-0826


End of Label Matrix
Mailable recipients    45
Bypassed recipients     3
Total                  48
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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 In Re:

                                                      Case No. 1:17-bk-06404


 THOMAS W. TURK                                       Chapter 13


                                                      Honorable Timothy A. Barnes

                                 Debtor(s)

                         DEBTOR’S MOTION TO MODIFY PLAN

          NOW COMES, THOMAS W. TURK (the “Debtor”), through undersigned counsel,

pursuant to 11 U.S.C. §1329 moves this Court to Modify Chapter 13 Plan, and in support thereof,

states as follows:

          1.   On March 2, 2017, Debtor filed a voluntary petition for relief under Chapter 13 of

the Bankruptcy Code [Doc. #1].

          2.   On June 22, 2017, an Order Confirming Plan was entered [Doc. #34].

          3.   Debtor’s confirmed plan provides:

               Section D. Payments by debtor to the trustee; plan term and completion

               1. Initial plan term. The debtor will pay to the trustee $500.00 monthly for
               9 months [and $2,025.00 per month for 51 months] for total payments,
               during the initial plan term, of $107,775.00.

                                                   ***

               Section E. Disbursements by the trustee

               8. General unsecured claims (GUCs). All allowed nonpriority unsecured
               claims, not specially classified, including unsecured deficiency claims
               under 11 U.S.C. § 506(a), shall be paid, pro rata, ■ in full.
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       4.      On February 13, 2020, the Court granted secured creditor, Shellpoint Mortgage

Servicing’s Motion for Relief from Stay [Doc. #42].

       5.      Shellpoint Mortgage Servicing is no longer receiving payments on Claim 5-1.

       6.      Accordingly, Debtor proposes reducing trustee payments from $2,025.00 to

$670.00 for the remaining plan term – beginning with Debtor’s March 2020 payment.

       7.      Modifying Debtor’s plan won’t prejudice Debtor’s general unsecured creditors, as

they will continue to be paid in full (as provided by Debtor’s confirmed plan).

       WHEREFORE, Debtor respectfully requests the Court enter an Order Modifying

Debtor’s Chapter 13 Plan – reducing Debtor’s payments to $670.00 for the remaining plan term;

and grant any other relief deemed appropriate and equitable.

Dated: February 25, 2020                              Respectfully submitted,

                                                      THOMAS W. TURK

                                                      By: /s/ Joseph S. Davidson

                                                      Joseph S. Davidson
                                                      SULAIMAN LAW GROUP, LTD.
                                                      2500 South Highland Avenue
                                                      Suite 200
                                                      Lombard, Illinois 60148
                                                      +1 630-575-8181
                                                      jdavidson@sulaimanlaw.com
